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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


  In re                                                          Chapter 11

  LEHMAN BROTHERS HOLDINGS INC., et al.,                        Case No.
                                                                08-13555 (SCC)
                              Debtors.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 16-01019 (SCC)

  1ST ADVANTAGE MORTGAGE, L.L.C. et al.,


                              Defendant.

  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against –                                      No. 18-01790 (SCC)

  APPROVED FUNDING CORP.,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01793 (SCC)

  BROADVIEW MORTGAGE CORPORATION,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01715 (SCC)

  LHM FINANCIAL CORPORATION,


                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01867 (SCC)

  AMERICAN BANK and CONGRESSIONAL
  BANCSHARES, INC. (successor-in-interest),


                              Defendants.


  LEHMAN BROTHERS HOLDINGS INC.,

                                                                Adversary Proceeding
                              Plaintiff,                        No. 18-01840 (SCC)
               - against -

  ARLINGTON CAPITAL MORTGAGE CORPORATION
  and GATEWAY FUNDING DIVERSIFIED MORTGAGE
  SERVICES, L.P.,

                              Defendants.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,
                                                                Adversary Proceeding
               - against -                                      No. 18-01800 (SCC)

  HARTLAND MORTGAGE CENTERS, INC.,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,
                                                                Adversary Proceeding
               - against -                                      No. 18-01791(SCC)

  LOAN SIMPLE, INC. f/k/a ASCENT HOME LOANS, INC.
  f/k/a PLACER FINANCIAL INC.,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01717 (SCC)

  LUXURY MORTGAGE CORP.,


                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01806 (SCC)

  NEW FED MORTGAGE, CORP.,
                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
               - against -                                      No. 18-01808 (SCC)

  OAKTREE FUNDING CORP.,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,
                                                                Adversary Proceeding
                              Plaintiff,                        No. 18-01811 (SCC)

               - against -

  MC ADVANTAGE, LLC f/k/a REPUBLIC MORTGAGE
  HOME LOANS, LLC,


                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,
                                                               Adversary Proceeding
                              Plaintiff,                       No. 18-01813 (SCC)

               - against -

  REPUBLIC STATE MORTGAGE CO., individually and as
  successor by merger to Union Trust Mortgage Corporation,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,
                                                                Adversary Proceeding
                              Plaintiff,                        No. 18-01815 (SCC)

               - against -

  RESIDENTIAL HOME FUNDING CORP.,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,
                                                                Adversary Proceeding
                              Plaintiff,                        No. 18-01831 (SCC)

               - against -

  ROSS MORTGAGE CORPORATION,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01824 (SCC)
               - against -

  STERLING NATIONAL MORTGAGE COMPANY, INC.,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01826 (SCC)
               - against -

  SUN AMERICAN MORTGAGE COMPANY,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01735 (SCC)
               - against -

  SUN WEST MORTGAGE COMPANY, INC.,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01828 (SCC)
               - against -

  WINDSOR CAPITAL MORTGAGE CORPORATION,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01827 (SCC)
               - against -

 WR STARKEY MORTGAGE, LLP,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 18-01721 (SCC)
               - against -

  SEATTLE BANK f/k/a SEATTLE SAVINGS BANK,

                              Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                              Plaintiff,                        Adversary Proceeding
                                                                No. 16-01291 (SCC)
               - against -

  GATEWAY MORTGAGE GROUP, LLC,

                              Defendant.
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  LEHMAN BROTHERS HOLDINGS INC.,

                                Plaintiff,                               Adversary Proceeding
                                                                         No. 18-01825 (SCC)
                 - against -

  SUBURBAN MORTGAGE, INC.,

                                Defendant.


  LEHMAN BROTHERS HOLDINGS INC.,

                                Plaintiff,                               Adversary Proceeding
                                                                         No. 18-01801 (SCC)
                 - against -


  MEGA CAPITAL FUNDING, INC.,

                         Defendant.



                         STIPULATION AND ORDER SETTING
                     BRIEFING SCHEDULE ON MOTION TO DISMISS

        IT IS HEREBY STIPULATED AND AGREED, by and between Lehman Brothers

 Holdings Inc. (the “Plan Administrator”) and the defendants in the above caption (the

 “Defendants”) who filed the Omnibus Motion to Dismiss RMBS Complaints Pursuant to Rule

 12(b)(1) for Lack of Subject Matter Jurisdiction and Standing [Adv. Proc. No. 16-01019, Dkt.

 No. 915] (the “Motion”) by their respective and undersigned counsel, as follows:

        1.     Lehman Brothers Holdings Inc.’s (the “Plan Administrator”) time to file and serve

 its opposition to the Motion (the “Opposition”) is extended from July 12, 2019 to July 24, 2019.

        2.     Defendants’ time to file and serve a reply to the Plan Administrator’s Opposition

 is extended from August 26, 2019 to September 18, 2019.
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        3.        The parties agree to a hearing date of October 16, 2019 for this Motion as directed

 by this Court.

        4.        Nothing herein prevents the Plan Administrator or the Defendants from seeking

 relief from or revising the briefing scheduling.



 Dated: New York, New York
        July 11, 2019

                                                WOLLMUTH MAHER & DEUTSCH LLP

                                                By:     /s/ Adam M. Bialek
                                                        Adam M. Bialek
                                                        abialek@wmd-law.com
                                                        500 Fifth Avenue
                                                        New York, New York 10110
                                                        Telephone: (212) 382-3300

                                                Counsel for Lehman Brothers Holdings Inc.


                                                LANI ADLER PARTNERS LLC

                                                By:     /s/ Lani A.Adler
                                                        Lani A. Adler
                                                        ladler@laniadlerpartners.com
                                                        275 West 96th Street, Suite 15G
                                                        New York, New York 10025
                                                        Telephone: (646) 732-3260

                                                Counsel for Defendant Suburban Mortgage, Inc.




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                                      SHAPIRO BIEGING BARBER OTTESON LLP

                                      By:       /s/ John C. Leininger
                                                John C Leininger
                                                jcl@sbbolaw.com
                                                1540 Lyndon B. Johnson Freeway Suite 1540
                                                Dallas, Texas 75240
                                                Telephone: (214) 377-0146

                                      Counsel for Seattle Bank f/k/a Seattle Savings Bank
                                      and Gateway Mortgage Group, LLC


                                      AMERICAN MORTGAGE LAW GROUP

                                      By:       /s/ Tracy L. Henderson
                                                Tracy L. Henderson, Esq.
                                                thenderson@americanmlg.com
                                                775 Baywood Drive, Suite 100
                                                Petaluma, California 94954
                                                Telephone: (707) 456-4043

                                      Attorneys for Defendants: American Bank; Approved
                                      Funding Corp.; Arlington Capital Mortgage
                                      Corporation; Broadview Mortgage Corporation;
                                      Congressional Bancshares, Inc; Gateway Funding
                                      Diversified Mortgage Services, L.P.; Hartland
                                      Mortgage Centers, Inc.; LHM Financial dba CNN
                                      Mortgage; Loan Simple, Inc. f/k/a Ascent Home Loans
                                      Inc.; Luxury Mortgage Corp.; MC Advantage, LLC f/k/a
                                      Republic Mortgage Home Loans, LLC; Mega Capital
                                      Funding, Inc.; New Fed Mortgage Corp.; Oaktree
                                      Funding Corp.; Republic State Mortgage Co.;
                                      Residential Home Funding Corp.; Ross Mortgage
                                      Corporation; Sterling National Mortgage Company;
                                      Inc.; Sun American Mortgage Company; Sun West
                                      Mortgage Company, Inc.; Windsor Capital Mortgage
                                      Corporation; WR Starkey Mortgage, LLP



 IT IS SO ORDERED: July 12, 2019

 /S/ Shelley C. Chapman
 HON. SHELLEY C. CHAPMAN
 UNITED STATES BANKRUPTCY JUDGE


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